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ATTORNEYS FOR PLAINTIFFS

______________________________________________________________________________

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING


CARLIE SHERMAN, and AMANDA NASH;
on Behalf of themselves and all similarly
situated persons,                                        CASE NO. 20-cv-215-S

                 PLAINTIFFS,

v.

TRINITY TEEN SOLUTIONS, INC.,
a Wyoming corporation; ANGELA C.

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WOODWARD, JERRY D. WOODWARD;
KARA WOODWARD; KYLE WOODWARD,
And DALLY-UP, LLC, a Wyoming limited liability
Corporation,

                DEFENDANTS.


      PLAINTIFFS’ RESPONSE TO DEFENDANT’S REQUEST FOR STATUS
   CONFERENCE (ECF 326) AND NOTICE OF MEDIATION – FEBRUARY 27, 2025


        COME NOW the Plaintiffs, Carlie Sherman and Amanda Nash, on behalf of themselves

and all similarly situated persons, by and through their undersigned attorneys, and hereby responds

to Defendants’ Request for Status Conference (ECF 326) by stating the following:

        On January 16, 2025, Defense counsel consulted with Class Counsel on participating in

mediation with the Honorable Irma E. Gonzalez (Ret.) former Chief Judge of the United States

District Court for the Southern District of California. This was a mediator previously proposed by

Class Counsel months ago. This request came out of the blue, as Defendants had largely ignored

prior attempts to schedule mediation by Class Counsel.

        On that same day, Class Counsel agreed to the mediation and requested Defense Counsel

join Class Counsel in filing a notice to the Court of the pending mediation.

        On January 22, 2025, at 2:00 p.m. Plaintiff’s counsel agreed to split the cost of mediation

and informed Judge Gonzalez’s business manager at JAMS of the agreement.

        On January 22, 2025, at 3:01 p.m. Defense Counsel, Lillian Alves, for the first time

transmitted a draft of her clients’ request for status conference with this Court that indicated that

the Defendants could not resolve the claims in mediation without a resolution to the expert issue

in this case.




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       On January 22, 2025, at 3:18 p.m., undersigned counsel, responded to Ms. Alves that her

client had pushed for mediation out of the blue and withheld information that Defendants appeared

to lack authority to settle this matter without a ruling from this Court. Class counsel sought clarity

which was ignored. Class Counsel indicated that they were aware of the Declaratory Action filed

by Markel against Trinity Teen Solutions and that they agreed to the mediation knowing that both

the expert issue and the declaratory action would likely not be resolved by the time mediation

occurred.

       On January 24, 2025, Defendants filed their modified request for a status conference (ECF

326) which removed their original statement that “Defendants cannot resolve the claims in

mediation or schedule the remainder of the case until the concerns they have raised are addressed.”

Counsel filed this without responding to Class Counsel’s concerns.

       Class Counsel has sought clarification from Defendants as to whether they have authority

to resolve this matter without a ruling by the Court and have only been informed that their client

still wishes to mediate.

       Class Counsel believe that this Court is capable of controlling its own docket and want to

allow this Court the necessary time to properly research the expert issue before making its ruling.

Class Counsel believe that a status conference is not necessary in this matter.




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                                        Respectfully submitted,



                                        By: /s/Craig A. Edgington
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                                        CLASS MEMBERS




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                               CERTIFICATE OF SERVICE

       This is to certify that on the 24th day of January 2025, a true and correct copy of the
foregoing was served upon counsel as follows:


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 Lillian L. Alves                                         [ ] U.S. Mail
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                                                         /s/Craig A. Edgington




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